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                                 UNITED STATES DISTRICT COURT

                                      DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                                   Crim. No. 12-206(5) (DWF/LIB)


v.                                                          REPORT AND RECOMMENDATION

Kevin John Needham,
a/k/a “KJ”

                 Defendant.


        This matter came before the undersigned United States Magistrate Judge upon

Defendant’s Motion for Severance [Docket No. 142], made on November 9, 2012. The case has

been referred to the Magistrate Judge for report and recommendation pursuant to 28 U.S.C. §

636(b)(1) and Local Rule 72.1. The Court held a hearing on November 17, 2012, and heard

arguments from Defendant and from the Government. For reasons outlined below, the Court

recommends that Defendant’s motion to sever be DENIED without prejudice.

I.      BACKGROUND

        Defendant Kevin John Needham (a/k/a “KJ”) is one of six persons charged with robbery

in connection with an incident alleged to have taken place on January 1, 2011, on the Red Lake

Indian Reservation. (Indictment [Docket No. 1] at 4). The indictment charges five other

individuals with robbery: Geshik-O-Binese Martin (a/k/a “Gishek,” a/k/a “Geshik”), Edward

McCabe Robinson (a/k/a “Eddie”), David John Martin (a/k/a “Lurch”), George Allen Martin

(a/k/a “Geo”) (collectively “Co-Defendants”); and Terin Rene Stately.1 (Id.) The Co-


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 On November 15, 2012, Co-Defendant Stately pleaded guilty to Theft. (United States v. Stately, Crim. No. 12-
206(6) (DWF/LIB), Tr. Hr’g Nov. 15, 2012 [Docket No. 153], at 27). Because Ms. Stately will not be tried with
Defendant Needham, the Court does not consider her a “Co-Defendant” for purposes of this Report and
Recommendation.

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Defendants also are charged with murder in the deaths of Craig David Roy (a/k/a “Crusher”) and

Darla Ann Beaulieu (a/k/a “Sue”). (Id. at 1-3). Defendant Needham is scheduled to be tried

jointly with the Co-Defendants.

       On November 9, 2012, Defendant Needham brought this Motion for Severance [Docket

No. 142]. Defendant Needham argues, based on his counsel’s review of redacted documents,

that the Government may introduce at trial statements from witnesses who claim that one or

more Co-Defendant(s) made statements that were incriminating as to Needham. (Id. at 2-3).

Defendant Needham argues that, should such testimony be introduced and should his Co-

Defendant(s) choose not to testify, such testimony would be prejudicial because he would not

have an opportunity to exercise his Sixth Amendment right to cross-examine his Co-

Defendant(s). (Id.). Defendant Needham urges that Bruton v. United States, 391 U.S. 123

(1968), requires that the Court sever his trial from that of his Co-Defendants in order to eliminate

such prejudice. The Government disagrees, arguing that the trial court likely will be able to craft

a limiting instruction or other mechanism that minimizes or eliminates any prejudice to

Defendant Needham. (Gov’t’s Resp. Mot. Severance [Docket No. 144]). Both Defendant

Needham and the Government presented their arguments to this Court at the November 17, 2012,

hearing.

       On November 21, 2012, the Court ordered the Government to provide, for in camera

review, unredacted copies of or summaries of any statements attributed to any of the Co-

Defendants which the Government intends to use at trial. [Docket No. 150]. The Government

provided those records on November 27 and 28, 2012.




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II.    DISCUSSION

       A.      Standard of Review

       An indictment may charge two or more defendants “if they are alleged to have

participated in the same act or transaction, or in the same series of acts or transactions,

constituting an offense or offenses.” Fed. R. Crim. P. 8(b). “For proper joinder under this

provision, it is not necessary that every defendant have participated in or be charged with each

offense.” United States v. Warfield, 97 F.3d 1014, 1019 (8th Cir. 1996) (internal quotation and

citation omitted).

       The Federal Rules of Criminal Procedure also provide that if joinder creates prejudice to

either the Government or a defendant, the Court may sever a trial “or provide any other relief

that justice requires.” Fed. R. Crim. P. 14(a). However, “[i]f, under Rule 8, joinder is proper,

then the defendant seeking severance has a ‘heavy burden’ in demonstrating that a joint trial will

impermissibly infringe his right to a fair trial.” United States v. Hopkins, No. 11-230

(DWF/SER), 2011 U.S. Dist. LEXIS 127071, at *25-26 (D. Minn. Oct. 5, 2011) (citing United

States v. Warfield, 97 F.3d 1014, 1019 (8th Cir. 1996)). “There is a preference in the federal

system for joint trials of defendants who are indicted together.” Zafiro v. United States, 506 U.S.

534, 537 (1993); see also United States v. Clay, 579 F.3d 919, 927 (8th Cir. 2009). “Joint trials

play a vital role in the criminal justice system,” because they achieve certain efficiencies, and

because they “avoid[] the scandal and inequity of inconsistent verdicts.” Richardson v. Marsh,

481 U.S. 200, 209-10 (1987). “Only in an unusual case will the prejudice resulting from a joint

trial be substantial enough to outweigh the general efficiency of joinder.” Clay, 579 F.3d at 927

(citing United States v. Al-Esawi, 560 F.3d 888, 891 (8th Cir. 2009)). “The risk of prejudice




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posed by joint trials is best cured by careful and thorough jury instructions.” United States v.

Mickelson, 378 F.3d 810, 818 (8th Cir. 2004).

       B.      Discussion

       In this case, the Defendant Needham does not argue that the Government improperly

joined his case with the cases against his Co-Defendants. In other words, he does not argue that

joinder was improper under Rule 8(b). Rather, Defendant Needham argues that severance is

necessary in order to avoid infringing his Sixth Amendment confrontation right. (Def.’s Mot.

Severance [Docket No. 142]).

       “Defendants have a Sixth Amendment right to confront witnesses against them, and a

Fifth Amendment right not to be made witnesses against themselves. ‘In a joint trial, these rights

collide when co-defendants implicate each other in confessions that are introduced into

evidence.” United States v. Banks, Crim. No. 11-173 (MJD/JJK), 2011 U.S. Dist. LEXIS 77703,

at *5 (D. Minn. July 1, 2011) (Keyes, M.J.). In Bruton, the petitioner and a co-defendant had

been convicted of armed robbery in a joint trial after a postal inspector testified that the co-

defendant had confessed and had “expressly implicat[ed]” the petitioner. 391 U.S. at 124, 124

n.1. The trial court instructed the jury that the co-defendant’s confession “if used, can only be

used against the [co-defendant]. It is hearsay insofar as the [petitioner] is concerned, and you are

not to consider it in any respect to the [petitioner], because insofar as he is concerned it is

hearsay.” Id. at 125 n.2. The Court concluded that

       the introduction of [the co-defendant’s] confession posed a substantial threat to
       petitioner’s right to confront the witnesses against him, and this is a hazard we
       cannot ignore. Despite the concededly clear instructions to the jury to disregard
       [the co-defendant’s] inadmissible hearsay evidence inculpating petitioner, in the
       context of a joint trial we cannot accept limiting instructions as an adequate
       substitute for petitioner’s constitutional right of cross-examination. The effect is
       the same as if there had been no instruction at all.



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Id. at 137. For that reason, the Court reversed the petitioner’s conviction. Id. at 126, 137.

       However, even the Bruton court suggested that redaction may be sufficient to cure any

prejudice caused by the introduction of a co-defendant’s incriminating statement, and

acknowledged that “[n]ot every admission of inadmissible hearsay or other evidence can be

considered to be reversible error unavoidable through limiting instructions.” Id. at 134 n.10,

135. In Richardson v. Marsh, 481 U.S. 200 (1987), the Court distinguished between co-

defendant statements that are “facially incriminating,” and statements which merely are

“incriminating by connection.” Id. at 209. When a co-defendant’s statement is facially

incriminating of the defendant, redaction or even severance may be required because it is more

difficult for jurors to set aside such evidence. Id. at 208. However, the Court rejected the

suggestion that the rule in Bruton extend to confessions that are incriminating by connection as

both impractical and unnecessary. Id. at 208-09.

       The Government has provided the Court with more than 250 pages of evidence for in

camera review. In reviewing this evidence, the Court asked two questions: First, does the

evidence contain a statement attributed to a Co-Defendant that inculpates Defendant Needham?

Bruton and its progeny are limited to statements made by a defendant’s co-defendants, because

only a co-defendant’s statement creates a conflict between the defendant’s Sixth Amendment

right to confront witnesses against him, and his co-defendant’s right not to incriminate himself.

See Banks, 2011 U.S. Dist. LEXIS 77703, at *5 (explaining the conflict). Second, if the

evidence contains statements by Co-Defendants that inculpate Defendant Needham, are those

statements facially incriminating, or are they merely incriminating by connection? “If a

codefendant’s confession does not incriminate the defendant on its face, but does so only when

linked to additional evidence, it may be admitted if a limiting instruction is given to the jury and



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the defendant’s name is redacted from the confession.” United States v. Flaherty, 76 F.3d 967,

972 (8th Cir. 1996) (citing Richardson, 481 U.S. at 211). Only the facially incriminating

statements of a co-defendant give rise to a Bruton issue. See Richardson, 481 U.S. 200.

       The evidence provided for in camera review contains dozens of statements that identify

Defendant Needham and speak to his alleged whereabouts and activities on January 1, 2011.

However, the overwhelming majority of these statements recount the direct observation of the

witnesses from whom the evidence was obtained, not a recounting of any statements by any Co-

Defendants that directly inculpate Defendant Needham. Thus, should any of these category of

statements be introduced at trial, Defendant Needham should have the opportunity to confront

the non-party witnesses, and there should be no Sixth Amendment issue. See, e.g., Banks, 2011

U.S. Dist. LEXIS 77703, at *6 (“Bruton does not apply when a co-defendant’s statements do not

incriminate the defendant either on their face or when considered with other evidence” (emphasis

added)); United States v. Prime Plating, Inc., Crim. No. 04-208 (JRT/FLN), 2004 U.S. Dist.

LEXIS 24706, at *6 (D. Minn. Nov. 24, 2004) (Tunhein, J.) (same).

       However, the evidence also contains a small number of statements attributed to Co-

Defendants that, either directly or by connection with other evidence, inculpates Defendant

Needham. The Court, then, proceeds to the next step of the inquiry.

       The evidence provided for in camera review also contains a small handful of statements,

made by one or more Co-Defendants to one or more witnesses, in which the Co-Defendant(s)

purportedly describe(s) actions taken on January 1, 2011, by “the boys” or the “guys” or some

other nonspecific designation. Taken in combination with other evidence, these statements could

inculpate Defendant Needham and, therefore, create a possible confrontation issue. However,

such statements do not, by themselves, warrant severance. “If a codefendant’s confession does



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not incriminate the defendant on its face, but does so only when linked to additional evidence, it

may be admitted if a limiting instruction is given to the jury and the defendant’s name is redacted

from the confession.” Flaherty, 76 F.3d at 972; Prime Plating, 2004 U.S. Dist. LEXIS 24706, at

*6-7 (same). The Court believes such limiting instructions, if necessary, can here be applied at

trial, and that these statements do not warrant severance.

            Finally, the evidence submitted for in camera review does contain two statements, made

by one or more Co-Defendants to one or more witnesses, in which the Co-Defendant(s)

purportedly describe(s) the actions taken specifically by Defendant Needham on January 1, 2011.

Such statements are facially incriminating. Richardson, 481 U.S. at 208. (“Specific testimony

that ‘the defendant helped me commit the crime’ is more vivid than inferential incrimination, and

hence more difficult to thrust out of mind.”) Additionally, unless the particular Co-Defendant(s)

who made these statements choose(s) to take the stand, Defendant Needham will not be able to

exercise his Sixth Amendment right to confront the witness against him. These are the very

types of statements at issue in Bruton and Richardson.

            However, even when a statement is facially incriminating, “Bruton can be complied with

by redaction – a possibility suggested in that opinion itself.” Richardson, 481 U.S. at 209 (citing

Bruton, 391 U.S. at 134 n.10). As expressed by the U.S. Supreme Court in Zafiro and

Richardson, by the Eighth Circuit in Clay, Al-Esawi and Warfield, and by the District of

Minnesota in Hopkins,2 there is a strong preference in the federal courts for joint trials. Given

that preference, and at this early juncture when the Court can only guess at what evidence the

Government will actually seek to introduce at trial or whether any Co-Defendants will ultimately

refuse to testify in their own defense and thereby deny Defendant Needham an opportunity to

cross examine them, severance is not now appropriate:
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    Citations in Part II.A, supra.

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            With respect to possible infringement of defendant[’s] right to confront his co-
            defendant concerning recorded statements made by the co-defendant, the motion
            for severance can properly be determined at or near the time of trial at which time
            it can be determined whether the government will seek to introduce all or selected
            portions of the recorded statements, and whether [the co-defendant] will exercise
            his right to testify or his Fifth Amendment right. Severance is a remedy that can
            be provided at the time of trial if appropriate under the circumstances. At present
            the motion for severance based upon speculative grounds is therefore premature.

United States v. Billups, Crim. No. 06-129 (PJS/AJB), 442 F. Supp. 2d 697, 706 (D. Minn.

2006) (Boylan, M.J.); see also Banks, 2011 U.S. Dist. LEXIS 77703, at *7 (“Bruton protections

can be re-evaluated” before trial “or at trial when actual testimony is proffered”).

            Consequently, the Court recommends that the Defendant’s Motion for Severance [Docket

No. 142] be DENIED without prejudice.

III.        CONCLUSION

       1.          Based on the foregoing, and all the files, records and proceedings herein,

                   IT IS HEREBY RECOMMENDED that Defendant’s Motion for Severance

                   [Docket No. 142] be DENIED without prejudice.



Dated: December 10, 2012                                        s/Leo I. Brisbois
                                                                LEO I. BRISBOIS
                                                                United States Magistrate Judge

                                              NOTICE

        Pursuant to Local Rule 72.2(b), any party may object to this Report and Recommendation
by filing with the Clerk of Court, and serving all parties by December 24, 2012, a writing that
specifically identifies the portions of the Report to which objections are made and the bases for
each objection. A party may respond to the objections within fourteen days of service thereof.
Written submissions by any party shall comply with the applicable word limitations provided for
in the Local Rules. Failure to comply with this procedure may operate as a forfeiture of the
objecting party’s right to seek review in the Court of Appeals. This Report and
Recommendation does not constitute an order or judgment from the District Court, and it is
therefore not directly appealable to the Court of Appeals.




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